
                                                                    








				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-03-169-
CV



IN RE FORT WORTH OSTEOPATHIC	RELATOR

HOSPITAL, INC. D/B/A OSTEOPATHIC

MEDICAL CENTER OF TEXAS



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ORIGINAL PROCEEDING

------------

MEMORANDUM
 
OPINION
(footnote: 1)
------------

The court has considered relator's petition for writ of mandamus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding
, for which let execution issue.



PER CURIAM





PANEL B:	WALKER, DAY, and LIVINGSTON, JJ.



DAY, J., would grant.



DELIVERED: JULY 7, 2003





FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




